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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

UNITED STATES DISTRICT COURT

for the

District of North Dakota

8TH Division

ANNE MICHELLE SPIEGELBERG
FARGO COMMUNITY SWEAT LODGE

Case No. 3:a0-Cv- lel

(to be filled in by the Clerk’s Office)

 

 

Plaintiffs)
(Write the fill name of each plaintiff who is filing this complaint.
Uf the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

LENORE KING - NATIVE AMERICAN COMMISION
NATALIE CRUTCHFIELD - DIRECTOR OF
PLANNING
TIM MAHONEY - CITY OF FARGO

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

i a a aa de

COMPLAINT AND REQUEST FOR INJUNCTION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

ANNE SPIEGELBERG - FARGO COMMUNITY SWEAT LODGE
215 8TH AVENUE SE

GRANT COUNTY, MINNESOTA

ELBOW L AKE 56531

320-304-9745
ANNE416SPIEGELBERG@OUTLOOK.COM

 

 

 

 

 

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (fknown). Attach additional pages if needed.

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Defendant No. 1
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title Gf known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

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LENORE KING - OFFICIAL CAPACITY
CHAIRPERSON OF NATIVE AMERICAN COMMISSION

 

225 4TH STREET NORTH
FARGO, CASS COUNTY

 

 

NORTH DAKOTA 58102
701-241-1310

 

 

 

NICOLE CRUTCHFIELD - OFFICIAL CAPACITY
DIRECTOR OF PLANNING
225 4TH STREET NORTH

FARGO, CASS COUNTY
NORTH DAKOTA 58102

701-241-1310

 

 

 

 

 

 

 

TIM MAHONEY - OFFICIAL CAPACITY
MAYOR OF CITY OF FARGO

225 4TH STREET NORTH

FARGO, CASS COUNTY

NORTH DAKOTA 58102

701-241-1310

 

 

 

 

 

 

 

 

 

 

 

 

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I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[V Federal question CJ Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

Act of 1978 (AIRFA) (42 U.S.C. § 1996.)

American Indian Religious Freedom Act (AIRFA)

FIRST AMENDMENT OF CONSTITUTION - FREEDOM OF RELGION - FREE ESTABLISHMENT
AND EXERCISE

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (name) , is a citizen of the

 

State of (name)

 

b. If the plaintiff is a corporation
The plaintiff, (name) , 1s incorporated

 

under the laws of the State of (name) >

 

and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

2. The Defendant(s)

 

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Oris a citizen of

 

(foreign nation)

 

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IH.

 

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) . 5

 

and has its principal place of business in (name)

 

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
needed.

A. Where did the events giving rise to your claim(s) occur?
CITY OF FARGO, STATE OF NORTH DAKOTA

 

B. What date and approximate time did the events giving rise to your claim(s) occur?
AUGUST 18, 2020

 

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C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what deppanee

CITY OF FARGO, PLANNING COMISSION AND NATIVE AMERICAN COMISSION CLOSED THE
SWEAT LODGE STATING THINGS ARE NOT RUN PROPERLY, SAFELY AND WANT TO MAKE
NEW RULES AND TELL US HOW TO PRAY.

THEY HAVE MADE ACCUSIONS WITH NO EVIDENCE. THEY HAVE HAD CLOSED DOOR
MEETINGS WITHOUT ANY ONE OF US INVOLVED. WE HAVE NOT HAD DUE PROCESS.

THE CITY OF FARGO AND ITS GOVERNMENT ENTITIES VIOLATED SEPARATION OF CHURCH
AND STATE BY PUTTING RESTRICTIONS AND WHAT WE CAN AND CANNOT DUE. THE ARE IN
THE PROCESS OF REMOVING PRIVATE PERSONAL PEROPERTY AND TEARING DOWN OUR
PLACE OF WORSHIP WITH NO EVIDENCE OF ANY WRONG DOING.

 

IV. Irreparable Injury

Explain why monetary damages at a later time would not adequately compensate you for the injuries you
sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
could not be measured.

SLANDERSOUS ACCUSIONS WITH NO BIAS
ACCUSATIONS THAT DAMAGE REPUTATION
SPRITUAL DAMAGE AS UNABLE TO PRAY

 

V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

iti d .
punitive money camages. | AM RESPECTIVELY ASKING THE COURT TO AWARD AN EX PARTE

INJUNCTION TO PROTECT THE FARGO SWEAT LODE FROM BEING TORN DOWN AND THE
CONVERSION OF PERSONAL PROPERTY DUE TO THE VIOLATIONS OF HUMAN RIGHTS IN ORDER TO
HAVE DUE PROCESS | AM ASKING THE COURT TO GRANT THE INJUCTION IMMEIDALEY

 

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

Signature of Plaintiff
Printed Name of Plaintiff

 

 

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

Printed Name of Attorney

Bar Number 4] Ap
Name of Law Firm ATIVE i ch ae —_—

Street Address RP ae oO ~ FIVE axl Ce _
State and Zip Code LLB OV LAKE. Vf) SOS3 /
Telephone Number

E-mail Address

 

 

 

 

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